              Case 2:19-cr-00213-RSM Document 57 Filed 01/29/21 Page 1 of 3




 1                                                                 The Hon. Ricardo S. Martinez
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                           UNITED STATES DISTRICT COURT FOR THE
 8
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE
10
      UNITED STATES OF AMERICA,                           No. CR19-213-RSM
11
                              Plaintiff,
12
                         v.
13
                                                          FINAL ORDER OF FORFEITURE
14    PHILIP B. GILBERT,
15                            Defendant.
16
17
18          THIS MATTER comes before the Court on the United States’ Motion for Entry of
19 a Final Order of Forfeiture for the following property:
20          • Asus laptop computer bearing serial number HZN0CV03R266069; and
21          • Seagate external hard drive bearing serial number NA7G69SW.
22          The Court, having reviewed the United States’ motion, as well as the other
23 pleadings and papers filed in this matter, HEREBY FINDS that entry of a Final Order of
24 Forfeiture is appropriate for the following reasons:
25          • In the Plea Agreement that Defendant Gilbert entered on June 22, 2020, he
26              agreed to forfeit his interest in the above-identified property as property used to
27              commit or to promoted commission of the offense, Possession of Child
28              Pornography, and/or consists of prohibited images, in violation of 18 U.S.C.

     Final Order of Forfeiture - 1                                       UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     United States v. Gilbert, CR19-213-RSM                               SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
                 Case 2:19-cr-00213-RSM Document 57 Filed 01/29/21 Page 2 of 3




 1                §§ 2252(a)(4)(B) and (b)(2), to which he entered a guilty plea (Dkt. No. 38,
 2                ¶ 11);
 3          • On September 18, 2020, the Court entered a Preliminary Order of Forfeiture,
 4                finding the above-identified property forfeitable pursuant to 18 U.S.C.
 5                § 2253(a) and forfeiting the Defendant’s interest in it (Dkt. No. 45);
 6          • Thereafter, the United States published notice of the pending forfeiture as
 7                required by 21 U.S.C. § 853(n)(1) and Federal Rule of Criminal Procedure
 8                (“Fed. R. Crim. P.”) 32.2(b)(6)(C) (Dkt. No. 46), and also provided direct
 9                notice to two potential claimants as required by Fed. R. Crim. P. 32.2(b)(6)(A)
10                (Declaration of Assistant U.S. Attorney Krista K. Bush in Support of Motion
11                for Entry of a Final Order of Forfeiture, ¶ 2, Exhibits A-B); and
12          • The time for filing third-party petitions has expired and none were filed.
13
14 NOW, THEREFORE, THE COURT ORDERS:
15          1.       No right, title, or interest in the above-listed property exists in any party
16 other than the United States;
17          2.       The property is fully and finally condemned and forfeited, in its entirety, to
18 the United States; and
19          3.       The United States Department of Justice, and/or its representatives, are
20 authorized to dispose of the property in accordance with the law.
21          IT IS SO ORDERED.
22          DATED this 29th day of January, 2021.
23
24
25
                                                  A
                                                  RICARDO S. MARTINEZ
                                                  CHIEF UNITED STATES DISTRICT JUDGE
26
27 ///
28 ///

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               Case 2:19-cr-00213-RSM Document 57 Filed 01/29/21 Page 3 of 3




 1 Presented by:
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